9:19-cv-01169-HMH   Date Filed 06/11/19   Entry Number 9   Page 1 of 10
9:19-cv-01169-HMH   Date Filed 06/11/19   Entry Number 9   Page 2 of 10
9:19-cv-01169-HMH   Date Filed 06/11/19   Entry Number 9   Page 3 of 10
9:19-cv-01169-HMH   Date Filed 06/11/19   Entry Number 9   Page 4 of 10
9:19-cv-01169-HMH   Date Filed 06/11/19   Entry Number 9   Page 5 of 10
9:19-cv-01169-HMH   Date Filed 06/11/19   Entry Number 9   Page 6 of 10
9:19-cv-01169-HMH   Date Filed 06/11/19   Entry Number 9   Page 7 of 10
9:19-cv-01169-HMH   Date Filed 06/11/19   Entry Number 9   Page 8 of 10
9:19-cv-01169-HMH   Date Filed 06/11/19   Entry Number 9   Page 9 of 10
9:19-cv-01169-HMH   Date Filed 06/11/19   Entry Number 9   Page 10 of 10
